 Case: 2:19-cv-00773-GCS-CMV Doc #: 5 Filed: 04/12/19 Page: 1 of 1 PAGEID #: 17




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


TANISHA VAUGHN,

               Plaintiff,
                                                      Civil Action 2:19-cv-773
                                                      Judge George C. Smith
        v.                                            Magistrate Judge Chelsey M. Vascura


ALLIANT CAPITAL MANAGEMENT, LLC,
dba ACM, LLC,

               Defendant.


                                            ORDER

        This case was reported as settled on April 11, 2019. (ECF No. 4.) If the parties have not

filed a dismissal entry in accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii) ON OR

BEFORE May 24, 2019, they are DIRECTED to file a written REPORT detailing the status of

this case.

        IT IS SO ORDERED.


                                                     /s/ Chelsey M. Vascura
                                                    CHELSEY M. VASCURA
                                                    UNITED STATES MAGISTRATE JUDGE
